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15

16                             UNITED STATES DISTRICT COURT

17                          NORTHERN DISTRICT OF CALIFORNIA

18

19   DANTE DEMARTINI, et al.,                      Case No. 3:22-cv-08991-JSC

20                        Plaintiﬀs,               JOINT STATUS CONFERENCE
                                                   STATEMENT
21         v.
                                                   Status Conference Date: April 27, 2023
22                                                 Time: 1:00 PM
     MICROSOFT CORPORATION, a Washington
23   corporation,                                  Location: Courtroom 8
                                                   Judge: Hon. Jacqueline Scott Corley
24                        Defendant.

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 1          Pursuant to the Court’s Order following the April 12, 2023 Status Conference, the parties

 2   through their undersigned counsel submit the following joint status report.

 3                                     I.          Currently Pending Motions

 4          On April 19, 2023, Defendant Microsoft Corporation filed a Motion to Dismiss Plaintiffs’ First

 5   Amended Complaint. On April 21, 2023, Plaintiffs filed a motion for a Preliminary Injunction. The

 6   same day, Plaintiffs filed (a) a motion to compel against Activision, the party to be acquired, seeking the

 7   depositions of (1) Robert A. Kotick and (2) a corporate designee pursuant to Federal Rule of Civil

 8   Procedure 30(b)(6) and (b) a motion to have the motion to compel against Activision heard on an

 9   abbreviated briefing schedule.

10                                            II.       Party Discovery

11          Microsoft is continuing to make productions to Plaintiffs in accordance with the Parties’

12   agreements and the Court’s orders. Plaintiffs seek depositions of Microsoft witnesses. Pursuant to the

13   parties’ meet and confer discussions, Plaintiﬀs served deposition notices on Microsoft for six witnesses

14   they intend to depose. Microsoft has agreed to provide written responses and objections by tomorrow,

15   April 26, 2023.   e parties will submit a joint letter to the Court setting forth any unresolved issues.

16   Microsoft has also noticed the Plaintiffs’ depositions, to take place after May 12 (Microsoft does not

17   believe any depositions are necessary prior to the May 12 hearing).

18          Microsoft has served written discovery on Plaintiffs.

19                                          III.     Non-Party Discovery

20   Plaintiffs’ Non-Party Discovery Update:

21          Plaintiffs have served the following non-party subpoenas:

22          (1) 30(b)(1) and 30(b)(6) subpoenas and document requests on Activision Blizzard, Inc.

23              (“Activision”);

24          (2) 30(b)(1) and 30(b)(6) subpoenas and document requests on Nintendo of America, Inc.,

25              (“Nintendo”);

26          (3) A 30(b)(6) subpoena and document request on Sony Interactive Entertainment LLC

27              (“Sony”); and

28          (4) a 30(b)(6) subpoena and document request on Nvidia Corporation (“Nvidia”).

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                                      JOINT STATUS CONFERENCE STATEMENT
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 1          1. Activision

 2          On April 21, 2023, Plaintiffs filed a motion to compel deposition testimony from Activision and

 3   its CEO Robert A. Kotick.

 4          2. Nintendo

 5          On January 27, 2023, Plaintiffs issued a subpoena to Nintendo and its CEO, Mr. Bowser.

 6   Plaintiffs and Nintendo had agreed to a deposition date of March 22, 2023, and Plaintiffs were prepared

 7   to take the deposition. However, after the Court dismissed the complaint with leave to amend, Nintendo

 8   refused to produce a witness on the scheduled deposition date. On April 14, 2023, following the filing of

 9   an Amended Complaint, Plaintiffs served a deposition subpoena on Nintendo‘s CEO, Mr. Bowser for

10   April 25, 2023. On April 24, 2023, the day before the deposition was to occur in Seattle, counsel for Mr.

11   Bowser informed Plaintiffs that they did not know if Mr. Bowser would appear for his deposition and

12   did not have authority to inform Plaintiffs if he would. Considering required travel, and Nintendo’s

13   inability to confirm the deposition would proceed, Plaintiffs were forced to reschedule the Bowser

14   deposition for a future date. On April 24, 2023, Nintendo of America, Inc. ﬁled a motion to quash the

15   subpoena of Doug Bowser in the Western District of Washington.

16          3. Sony

17          On January 27, 2023, Plaintiffs issued a subpoena to Sony Interactive Entertainment, LLC

18   (“Sony”) and its CEO Jim Ryan. In lieu of a deposition at this time, Sony agreed to make certain

19   documents available to Plaintiffs. Sony made a production of documents to Plaintiffs on March 9, 2023.

20   Plaintiffs issued a second deposition subpoena to Sony with a request for production of documents on

21   March 10, 2023. After the entry of a Supplemental Protective Order with an “Outside Counsel Only”

22   provision, Sony made a second production of material to Plaintiffs on March 17, 2023. Plaintiffs

23   continue to discuss appropriate dates for the deposition of Sony employees. Plaintiffs are meeting and

24   conferring with Sony counsel to obtain the recent depositions from the FTC matter. Sony is producing

25   all documents that it produces to Plaintiffs to Defendants as well.

26          4. Nvidia

27          On March 3, 2023, Plaintiffs served a document production subpoena on Nvidia with a return

28   date of March 14, 2023. On March 15, 2023, Nvidia served Objections and Responses to Plaintiffs’

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                                     JOINT STATUS CONFERENCE STATEMENT
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 1   Subpoena. On April 17, 2023, Plaintiffs and Nvidia counsel had a meet and confer regarding the request

 2   for production of documents to the FTC and the deposition of certain Nvidia employees. Counsel for

 3   Nvidia informed Plaintiffs on the meet and confer call that they would respond to Plaintiffs’ request. At

 4   the time of this filing, Nvidia has yet to respond to Plaintiffs regarding their request for documents, or

 5   available dates for deposition.

 6   Defendant’s Third-Party Discovery Update:

 7          Microsoft plans to cross-notice depositions of Nintendo and Sony witnesses.

 8                                     IV.    Alternative Dispute Resolution

 9   Plaintiffs’ Position:

10          Plaintiffs do not believe ADR is appropriate in this case.

11   Defendant’s Position:

12          Microsoft is open to ADR at an appropriate time.

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14   Dated: April 25, 2023                                 By:     /s/ Joseph R. Saveri
                                                                   Joseph R. Saveri
15
                                                           Joseph R. Saveri (State Bar No. 130064)
16                                                         Steven N. Williams (State Bar No. 175489)
17                                                         Cadio Zirpoli (State Bar No. 179108)
                                                           Elissa Buchanan (State Bar No. 249996)
18                                                         David H. Seidel (State Bar No. 307135)
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26                                                         Plaintiﬀs’ Counsel

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 1   Dated: April 25, 2023                                By:    /s/ Valarie C. Williams

 2                                                        Valarie C. Williams
                                                          B. Parker Miller
 3
                                                          Tania Rice
 4                                                        Alston & Bird LLP

 5                                                        Beth A. Wilkinson
                                                          Rakesh N. Kilaru
 6                                                        Kieran G. Gostin
                                                          Anastasia M. Pastan
 7
                                                          Jenna Pavelec
 8                                                        Wilkinson Stekloff LLP

 9                                                        Counsel for Defendant Microsoft Corporation
10

11                                               Filer’s Attestation
12          Each of the other Signatories have concurred in the filing of the document, which shall serve in
13   lieu of their signatures on the document.
14                                                        By: /s/ Valarie C. Williams________________
15                                                               Valarie C. Williams
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                                     JOINT STATUS CONFERENCE STATEMENT
